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UNTIED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND

 

EDWARD J. VALENTI

 

Plaintiff CIVIL ACTION NO:
Vv.
BENTLEY MOTORS, INC
Defendant
COMPLAINT
PARTIES

1. Plaintiff, Edward J. Valent is a resident of the State of Rhode Island.

2. Defendant, Bentley Motors, Inc., (Bentley) is a foreign corporation duly
authorized to conduct business in the State of Rhode Island

JURISDICTION

3. Jurisdiction is conferred upon this Court by 15 U.S.C. §2310(d), Magnuson-Moss
Warranty — Federal Trade Commission Improvement Act. Jurisdiction is further
conferred as the Defendant, Bentley Motors, Inc. has sufficient minimum contact
with the State of Rhode Island, and the matter in controversy exceeds the sum of
$50,000 exclusive of interest, costs, and fees.

FACTS AS TO ALL COUNTS

4. Onor about July 31, 2018 the Plaintiff purchased a 2015 Bentley Continental GT
(Vin# SCBGH3ZA4FC044615) from Bentley Greenwich in Stamford
Connecticut for the amount of One Hundred Sixty Thousand ($160,000) dollars.
At the time of delivery, the Plaintiff purchased from the Defendant an additional
one-year certified pre-owned (CPO) warranty for Five Thousand ($5,000.00)
dollars. Since that time the Plaintiff has paid insurance premiums for the vehicle
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for eighteen (18) months as well as State and Municipal Sales, Use, and Property
taxes and incurred other economic losses.

The vehicle was delivered to the Plaintiff via flatbed truck to 3 Celona Drive,
Johnston, RI.

Defendant is the importer and wholesaler of said vehicle.
Defendant is the warrantor of said vehicle pursuant to 15 U.S.C. §2301(5).
Plaintiff is a consumer pursuant to 15 U.S.C. §2301(1).

Shortly after the purchase of said vehicle, Plaintiff became aware of that the
convertible top was not operating in the appropriate manner. Plaintiff took the
vehicle back to Greenwich Bentley and the dealer replaced the convertible top.

Due to the Bentley being out of service for over forty-five days, Greenwich
Bentley offered to pay Thirty-Five Hundred ($3500.00) dollars towards a third
CPO warranty, with the Plaintiff paying for the remainder of the cost of the
warranty.

COUNT I
MAGNUSON-MOSS WARRANTY ACT

Plaintiff re-alleges and incorporates by reference paragraphs 1-10 of this
Complaint.

After the Bentley was returned to the Plaintiff, he noticed defects or malfunctions
that have been documented by authorized servicing agents of the Defendant.

Said defects was/is a loud and annoying clanking, banging and vibrating inside
the driver’s compartment; along with a wheel shimmy.

Plaintiff brought the Bentley back to both Miller Motorcars d/b/a Greenwich
Bentley and UAB West Bay IB, LLC d/b/a Bentley Providence on several
occasions in an attempt to remedy said defects.

Both Greenwich Bentley and Bentley Providence are/were aware of the defects
and have indicated that they cannot remedy the defects.

Pursuant to 15 U.S.C. §2304(a)(4), Defendant, through its authorized servicing
agents, has had a reasonable number of attempts to remedy the defects or
malfunctions, all to no avail, rendering the vehicle unfit for its intended purpose.
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WHEREFORE, Plaintiff demands this Court order the Defendant, Bentley Motors
take possession of the motor vehicle and refund the entire purchase price, along with
any costs associated with the purchase of the vehicle, and award other economic loss

and consequential damages, along with attorney’s fees and costs as provided in 15
U.S.C. §2304(a)(4) and 15 U.S.C. §2310(d)(2).

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COUNT TWO
RHODE ISLAND
UNIFORM COMMERCIAL CODE
Plaintiff hereby invokes the Pendent and Ancillary jurisdiction of this Court.

Plaintiff re-alleges and incorporates by reference paragraphs 1 through 16 of this
Complaint.

Defendant is a “merchant” as defined in R.I. Gen. Laws §6A-2-104.

The subject matter of this Complaint, one 2015 Bentley Continental GT is a
“sood” as defined in R.I. Gen. Laws §6A-2-105.

As the Defendant is a merchant with respect to the purchase of the 2015 Bentley
Continental GT by Plaintiff, said transaction created an implied and actual
warranty that the vehicle was of merchantable quality and fit for ordinary
purposes in accordance with R.I. Gen. Laws §6A-2-314.

Upon purchase, Plaintiff inspected the vehicle but failed to observe or detect the
defect(s) or malfunction(s) described in paragraph 13 herein.

After the Bentley was returned to the Plaintiff as indicated in paragraph 9, he
noticed defects or malfunctions that have been documented by authorized
servicing agents of the Defendant.

Said defect was/is a loud and annoying clanking, banging and vibrating and
shimmying inside the driver’s compartment.
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25. Servicing agents of Defendant were afforded several opportunities to remedy said
defect(s) or malfunction(s) to no avail.

26. As a result of the defect(s) mentioned in paragraph 23 the vehicle was unfit for its
ordinary purpose, would not pass without objection in the trade, and was thus
unmerchantable at the time of sale.

27. As a proximate result of the unmerchantable quality of the 2015 Bentley
Continental GT, Plaintiff has suffered economic losses.

WHEREFORE, Plaintiff demands this Court void said purchase of the motor
vehicle, order Bentley to take back said vehicle. Award Plaintiff a refund of his
purchase price along with consequential and incidental damages, and with reasonable
attorney’s fees.

Edward J. Valenti
By His Attorney,
Petrarca & Petrarca Law Offices

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Plaintiff hereby requests a trial by jury.

Dated: \3 alex Wh
